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            EXHIBIT E
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                                                                                     Registration Number
                                                                                     TX 9-359-731
                                                                                     Effective Date of Registration:
                                                                                     February 01, 2024
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                                                                                     February 12, 2024




    Title
                           Title of Work:     Rule Help Pages (in web application)


    Completion/Publication
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    Author

                       •       Author:        Deque Systems, Inc.
                        Author Created:       text
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                          Domiciled in:       United States

    Copyright Claimant

                     Copyright Claimant:      Deque Systems, Inc.
                                              381 Elden St., Suite 2000, Herndon, VA, 20170, United States
1
    Limitation of copyright claim

      Material excluded from this claim:      HTML and source code

        New material included in claim:       text
0
    Certification

                                   Name:      Marsha G. Gentner
                                    Date:     February 01, 2024
            Applicant's Tracking Number:      100814-000045
                                    Date:     February 01, 2024
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                                                                                                                Page 1 of 2
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            Correspondence:   Yes




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